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            EXHIBIT 1
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                                                                                                                      Daniel M. Petrocelli
      August 30, 2022                                                                                                 D: +1 310 246 6850
                                                                                                                      dpetrocelli@omm.com
      The Honorable Taryn A. Merkl
      U.S. District Court for the Eastern District ofNew York
      225 Cadman Plaza East
      Brooklyn, NY 11201

      Re:       Marvel Characters, Inc. v. Solo etal., No.1:21-cv-05316-DG-TAM

      Dear Judge Merkl:

      Plaintiff Marvel Characters, Inc. ("MCI") respectfully requests a pre-motion conference to discuss
      MCI's anticipated motion to compel. Defendants' refusal to produce responsive documents, much
      less commit to a date to complete their productions, necessitates the Court's intervention. MCI
      respectfully requests a consolidated pre-motion conference on both parties' pre-motion letters.

                A.        MCI's Position

      While the 1976 Copyright Act gives authors the right to terminate grants of copyright under certain
      circumstances, works made for hire are not eligible for termination. See 17 U.S.C. § 304(c).
      Courts have uniformly held that a work is "made for hire" under the 1909 Copyright Act when it
      is made at the hiring party's "instance and expense." See, e.g., Marvel Worldwide, Inc. v. Kirby,
      777 F. Supp. 2d 720, 738 (S.D.N.Y. 2011), aff'd in relevant part, 726 F.3d 119 (2d Cir. 2013).
      "'Instance' refers to the extent to which the hiring party provided the impetus for, participated in,
      or had the power to supervise the creation of the work." Kirby, 726 F.3d at 139. Under the
      "expense" prong, "payment ofa 'sum certain' suggests a work-for-hire arrangement." Id. at 140.

      Applying this test, the Second Circuit affirmed summary judgment for Marvel against the
      attempted terminations by the heirs of Jack Kirby, who worked for Marvel in the 1950s and 1960s.
      Id. Similarly, the District of Delaware held that Marv Wolfman- another Marvel contributor who
      worked with Eugene J. Colan ("Colan") on many of the comics at issue here- worked on a work-
      made-for-hire basis. See In re Marvel Ent. Grp., 254 B.R. 817, 834 (D. Del. 2000).

      The facts here are essentially the same as those in Kirby and Wolfman. According to Colan, Marvel
      assigned him work, provided him with plots or synopses, edited his work, and paid him a fixed
      fee. See, e.g., Ex. 1 at 1 (Colan describing how Lee "would call every month for more than 18
      years [to] briefly outline a plot"); Exs. 2-5 (Colan detailing how Marvel editor Stan Lee gave Colan
      assignments); Ex. 6 ,-i 9 (Colan swearing under oath that Marvel "paid me on a per-page basis" and
      could "request[] that I change or redraw pages"). 1 Moreover, Colan signed numerous contracts


      1 While MCI disagrees that it bears the burden to show that Colan's work was done at Marvel's
      instance and expense, MCI has searched extensively for such information.


               Austin • Century City • Dallas • Los Angeles • Newport Beach • New York • San Francisco • Silicon Valley • Washington, DC
                                                                                                                                             EXHIBIT

                                                                                                                                             CaO
                                    Beijing • Brussels • Hong Kong • London • Seoul • Shanghai • Singapore • Tokyo
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      affirming that his contributions were works made for hire. 2 Nonetheless, after his passing, two of
      his four children now-incorrectly-claim otherwise.

      Defendants Must Commit to a Date Certain to Complete their Productions. In response to
      MCI's Requests for Production ("RFPs"), served back in February, Defendants agreed to produce
      a wide variety of documents. However, despite being obligated to do so and many requests from
      MCI, Defendants refuse to commit to a date to complete their productions. See, e.g., Fed. R. Civ.
      P. 34(b)(2)(B) (production must be made when responses are served or "another reasonable time
      specified in the response"); see also Fed. R. Civ. P. 34(b)(2)(B) advisory committee's note
      (responses "should specify the beginning and end dates of the production"); Fischer v. Forrest,
      2017 WL 773694, at *3 (S.D.N.Y. Feb. 28, 2017) ("[R]esponses [that] do not indicate when
      documents and ESI that defendants are producing will be produced" violate Rule 34). And, in the
      intervening six months, Defendants have produced just five documents- two birth certificates, a
      piece of artwork autographed by Stan Lee, and copies of two books. In their latest attempt to dodge
      MCI's timing request, Defendants tried to insist that MCI agree to a number of punitive conditions.
      See Ex. 7. Consistent with the Rules, Defendants must be ordered to produce their documents by
      a date certain, with no strings attached-especially in light of (1) the upcoming October 17 status
      conference, and (2) the need to complete depositions ahead of the November 18 fact discovery
      deadline. Anything less would reward Defendants' sustained refusal to comply with the Rules.

      Defendants Must Produce Relevant Documents. A party challenging the adequacy of an
      adversary' s collection efforts bears the burden to provide "concrete evidence pointing to the
      existence of missing documents." Sidman v. Concord Arena Parking, LLC, 2021 WL 1940255,
      at *2 (E.D.N.Y. May 11, 2021). MCI readily meets this burden.

             Defendants' Standing. Under section 304(c), a grant of a copyright may be terminated by
      the author or, if deceased, by the person who owns and is entitled to exercise more than 50% of
      the author's termination interest. See 17 U.S.C. § 304(c)(l)-(2). If there is no widow or widower,
      "the author's surviving children, and the surviving children of any dead child of the author, own
      the author's entire termination interest ... [which] is divided among them." Id. § 304(c)(2).

      Colan is deceased, and his two children with his second wife served the purported termination
      notices. See Ex. 8. But Colan had two other children with his first wife. See Exs. 9-10. MCI
      understands that one of the children passed away but left a surviving child, and that the other is
      living. Thus, Defendants seemingly only own 50% of Colan's purported termination interest and
      lack standing to serve termination notices, a position endorsed by Defendants' counsel in Kirby .
      See Ex. 11 at 21; see also Penguin Grp. (USA) Inc. v. Steinbeck, 537 F.3d 193,202 (2d Cir. 2008).

      MCI served RFP No. 30 on standing. See Ex. 12 at 39. After feigning ignorance with respect to
      this Request, Defendants later acknowledged that they understood it seeks "documents sufficient
      to show that Defendant is an owner of the termination interest in question and Defendant' s
      ownership interest percentage" and agreed to produce all responsive documents. Id. at 40-41.
      Defendants, however, have produced only their birth certificates and have not produced any

      2MCI does not submit these confidential agreements as exhibits but they are available at the
      Court's request.


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      documents relating to their half siblings. Defendants' limited production thus suggests they are
      withholding evidence that would invalidate their purported termination notices.

              Colan's Work for Marvel. Throughout his sixty-plus year career with Marvel, Colan
      recorded the conversations during which Lee provided Colan with assignments, with Defendants
      arguing these plots are "central" to this case. Compare Ex. 2 with Dkt. 35 at 3. Yet Defendants'
      search efforts make no mention of these recordings. See Ex. 13. In addition, aside from two books,
      Defendants have not produced a single document relating to Colan's work for Marvel. Erik Colan,
      however, acquired artwork from his father, which could, for example, illustrate how Marvel
      provided the impetus for and/or supervised Colan's work. See Ex. 14. Concerningly, Erik Colan
      sold some of this artwork, even after his family contacted counsel of record about legal
      representation. Compare Ex. 14 with Ex. 15. Possible spoliation aside, even if Erik Colan sold
      some artwork, it does not explain the absence of any Colan artwork within either of Defendants'
      productions.

               Colan's Agreements and Related Correspondence. Defendants agreed to produce Colan's
      agreements with Marvel. See, e.g., Ex. 12 at 9-10; 29-34. In these agreements, Colan repeatedly
      admitted that his contributions were "works made for hire." In addition, in 2008 correspondence,
      Colan explained how Stan Lee "gave [him his] first job" and gave him plots. See Ex. 1. Further
      still, Colan corresponded via email with Lee. See Ex. 16. But Defendants have not produced any
      of these documents. In fact, they have not produced any ESI at all.

                                                *       *       *
      MCI thus seeks an order compelling Defendants to, within seven days, (a) produce all non-
      privileged documents that are responsive to MCI's RFPs; and (b) amend their interrogatory
      responses to confirm that all non-privileged, responsive documents have been produced.

             B.      Defendants' Position

      Marvel's retaliatory Letter is based on nothing more than misleading misrepresentations, false
      innuendo and unsupported speculation about documents Defendants might have. Marvel' s recently
      concocted Letter was designed as a counterweight to deflect from the real discovery issues raised
      by Defendants' Pre-Conference Letter (Dkt. 35). Marvel's request for a conference with the Court
      should be denied until such time as Marvel has properly met and conferred with Defendants, as
      required.

      Marvel Failed to Meet and Confer with Defendants Prior to Serving Its Letter

      No pre-motion conference concerning Marvel's Letter is necessary, or even permitted, given that
      Marvel never met or conferred with Defendants regarding most of the contrived issues raised for
      the first time in its Letter. Per Your Honor's Individual Rules & Practices, "The parties must confer
      as required by Fed. R. Civ. P. 37(a)(l) prior to filing the letter, and must describe their efforts to
      confer in the joint letter." § 3(A) ( emphasis added). It is telling that Marvel has done neither, nor
      has it attached a single conferral letter as an exhibit. As shown below, many of the exaggerated
      topics in Marvel's Letter are non-issues or are minor items over which there is no dispute. Thus
      many, if not all, issues can readily be resolved without the need for judicial intervention.


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      Defendants Have Diligently Searched for Documents

      Defendants' searches for relevant and responsive documents have been extensive. Since the time
      Defendants expected that they would exercise their termination rights in the Works, they began
      searching for and collecting documents which might be relevant to that exercise. Ex. 13 Colan
      Responses at 10, Solo Responses at 10. When Defendants received Marvel's RFPs, their search
      efforts continued. Ex. 13 Colan Responses at 15, Solo Responses at 15. Defendants informed
      Marvel that their production of documents would be substantially completed on or before August
      29, 2022. Ex. 17 at 9; Ex. 18 at 1-2; Ex. 19 at 1.

      To locate relevant, responsive documents, Nanci Solo searched her entire house, including her
      basement and detached garage where she keeps storage boxes, two large containers where she
      keeps files previously kept in a five-drawer vertical file cabinet, the files contained in two two-
      drawer vertical file cabinets, her closets and shelves, and searched her computer files. Ex. 13 Solo
      Responses at 15. She has no offsite storage facility. Id. Erik Colan searched his entire one-room
      studio apartment, including all cabinets, drawers, boxes, closets and selves, and searched his
      computer files for any responsive documents. Ex. 13 Colan Responses at 15. He has no offsite
      storage facility. Id. Defendants produced the relevant, responsive, and non-privileged documents
      uncovered by their diligent searches.

      Marvel's Letter Knowingly Misleads with Misrepresentations, Speculation and Innuendo

      Marvel's Letter is contrived to mislead the Court. For example, Marvel misrepresents that
      Defendants did not provide an end date for their production. Not so. As stated above, Defendants
      have repeatedly informed Marvel, including prior to its Letter, that their productions would be
      substantially completed by August 29, 2022. Ex. 17 at 9; Ex. 18 at 1-2; Ex. 19 at 1. Marvel's claims
      to the contrary are knowingly false.

      Marvel' s Exhibit 7 is a knowingly incomplete copy of the communications between counsels from
      August 3-12, 2022, days before Marvel ' s submission of its Letter. Compare Ex. 7 with Ex. 17.
      Marvel intentionally omitted the portions of Defendants' counsel's communications which
      corrected, in detail, the numerous misstatements and factual inaccuracies presented by Marvel' s
      counsel. Ex. 17 at 14-18.

      Marvel's Letter is little more than a series of strained inferences and guesswork. For example, as
      to standing, Marvel admits Defendants produced their birth certificates, demonstrating that they
      are indeed Gene Colan's children, entitled to exercise his termination right as to the Works. 17
      U.S.C. § 304(c)(2). Defendants were thus surprised by Marvel's assertions in its Letter regarding
      two children, Valerie (now deceased) and Jill, Gene Colan had with his first wife, Salle. After the
      couple's divorce decades ago, Salle remarried Norman Brust, who legally adopted Valerie and Jill
      in New York. This legal adoption vitiated Valerie and Jill's status as Gene Colan's children and
      with it, any interest under the Act's termination provisions. Defendants are the only legal children
      of Gene Colan. If Marvel had legitimate questions about this family history, it should have sent an
      interrogatory or at a minimum, raised this issue during the parties' meet-and-confer discussions.
      Had Marvel done so, Defendants could have swiftly put this non-issue to rest.



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      Next, Marvel works hard to manufacture inferences that Defendants are withholding relevant
      documents concerning Gene Colan's Works. In good faith, Defendants responded to each of
      Marvel's RFPs by agreeing to produce all non-privileged, responsive documents uncovered by a
      reasonably diligent search for same. Ex. 12. Marvel intentionally distorts this as a breached
      promise to produce ascertained documents (e.g., "agreements") when in fact, Defendants' diligent
      searches simply revealed none. Marvel likewise distorts alleged recordings of Stan Lee. First, as
      Marvel knows, Gene Colan testified in his 1999 deposition, regarding the works he sold to Marvel,
      that "I kept nothing really. I have nothing to show, no documents, I had no contracts, nothing."
      Ex. 20 at 11: 17-19. 3 Ignoring this, Marvel now accuses his children of withholding documents
      their father swore he did not have two decades ago. Second, Marvel cites Exhibit 14 as a basis to
      accuse Erik Colan of selling off potential artwork evidence. Not only did Marvel never raise this
      concern with Defendants previously, but Exhibit 14 does not list any materials relevant to this
      case. Erik Colan's auctioning ofa 2001 replica comic book cover or copies of autographed books
      which Marvel published have little to do with Marvel's work-for-hire defense. See Ex. 14 at 3.
      Third, Marvel misleadingly omits that Erik Colan's mother contacted Defendants' counsel 13
      years ago in 2009 (Ex. 15) and that this had nothing to do with this case or counsel's current
      representation of Defendants.

      Marvel next attempts to forge inferences about documents that Defendants could have based on
      the documents that Marvel has produced. As Marvel knows, the parties are situated very differently
      and one party's possession of a document means nothing about the documents possessed by the
      other. Marvel is a multibillion-dollar, international corporation with sophisticated document
      maintenance platforms on which their legal, finance, tax, human resources, and publishing
      departments purportedly maintain documents. Ex. 21 at 13-23. Marvel also maintains numerous
      hard copy storage repositories and has outside legal counsel that retained documents dating back
      prior to the 1960s. Id. at 16, 21-23.

      Defendants, however, like Gene Colan, are individuals without significant means, without
      document retention procedures and policies, or standardized ESI platforms. Defendants have only
      their homes, filing cabinets, and personal computers. Ex. 13 Colan Responses at 15, Solo
      Responses at 15. Furthermore, they inherited no more documents than Gene Colan had and, as
      referenced above, he testified to retaining very little. Ex. 20 at 11: 17-19. It would be unreasonable
      to expect that Defendants would possess many (or any) communications and agreements that Gene
      Colan may have had with Marvel decades ago. The documents Marvel produced create no
      inference about those in Defendants' possession or control. Defendants have diligently searched
      for and produced their responsive documents, and literally cannot produce documents they do not
      possess or control. Marvel's unwarranted and improper Letter does nothing to change this.

      Should this Court nonetheless decide to schedule a pre-motion conference to discuss Marvel's
      Letter, Defendants respectfully request the Court hear Marvel' s Letter during the September 16
      conference for Defendants' Letter.




      3 Defendants will make the full deposition transcript available should the Court request it.




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      Respectfully submitted,

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